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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 IN RE TESLA, INC. STOCKHOLDER                             Civil Action No. 17-317-VAC-CJB
 LITIGATION                                                Consolidated



        WHEREAS by Order filed February 15, 2018 (the “Order”) this Court (1) appointed

 Arkansas Teacher Retirement System, Boston Retirement System, Oklahoma Firefighters

 Pension and Retirement System, Roofers Local 149 Pension Fund, KBC Asset Management NV,

 ERSTE-SPARINVEST Kapitalanlagegesellschaft m.b.H. and Stichting Blue Sky Active Large

 Cap Equity Fund USA as Co-Lead Plaintiffs in this action; and (2) appointed Grant & Eisenhofer

 P.A., Kessler Topaz Meltzer & Check, LLP and Robbins Geller Rudman & Dowd LLP as Co-

 Lead Counsel for Plaintiffs; and

        WHEREAS there is currently pending in the Court of Chancery of the State of Delaware

 a case styled In re Tesla Motors, Inc. Stockholder Litigation, C.A. No. 12711-VCS, which

 presents issues and claims overlapping those in this action and in which a motion to dismiss has

 been fully briefed, argued and is sub judice (the “Chancery Court Case”);

        IT IS HEREBY STIPULATED AND AGREED that this action shall be stayed for 60

 days from the date hereof, subject to the following:

        1.      If the motion to dismiss in the Chancery Court Case is granted in its entirety

                during such 60-day period, the stay shall terminate five days after such grant.

        2.      If the motion to dismiss in the Chancery Court Case is denied in whole or in part

                during such 60-day period, the stay shall continue sine die subject to further

                agreement of the parties and order of the Court.




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        3.     If the motion to dismiss in the Chancery Court Case remains undecided after the

               stay has been in place for 60 days, the parties shall discuss whether and on what

               terms it should be extended.


 Dated: March 5, 2018

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                                                    Co-Lead Counsel for Plaintiffs
 SO ORDERED:

 ___________________________
       U.S.M.J.




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